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EXHIBIT A
- Pageép@k IWo.. 151517/2015

NYSCEF DOC. NO. 1 SO RECEIVED -NYSCEF: 02/13/2015 |

 

 

 

SUPREME COURT OF THE STATE OF NEW YORK.

 

COUNTY OF NEW YORK
COLLEENDOWELL, © - Index No.:
Plaintiff,
— sagainst= SUMMONS
-. DOUGLAS STRONG; DANIEL TILMAN, OSCAR ROSA, _ Plaintiff Designaies New York

and ANDY AGUAYO, - County as the Place for Trial

SO . Pursuant to CPLR §503 |

Defendants, " oT

 

 

To the above named Defendants:
You are hereby summoned to answer the Verified Complaint in this action, and tos serve |
a copy of your Verified Answer, or, if the Verified Complaint is not served with this Summons,
to serve a Notice of. Appearance on Plaintiffs attorney within twenty (20) days after the service
of this Summons, exclusive of the day of service, "where service is made by delivery upon you
personally within this State, or within thirty G 0) days after completion of service where service is _
made i in any other manner. ‘If ‘you fail to Answer or, in 1 proper circumstances, serve a a Notice ¢ of
Appearance, judgment will be taken against you by default for. the relief demanded in | the

Verified Complaint.

Dated: New York, New York
February 13, 2015

 

“Respectfully submitted,

   

 

Mark A. Macine .
Attorney for Plaintiff Collen Dowell
_ Mark A. Marino, PC
380 Lexington Avenue, 17th. Floot -
~ New York, New York’ 10168
© Tel: 212.748.9552 =
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Babel.
 

Case 1:16-cv-06819-NRB Document 1- : :
(FILED: NEW YORK COUNTY CLERK 02/13/2015 05124 PM 6 Padgrie! wd. 151517/2015-
_ NYSCEF: DOC. No. 2 ‘RECEIVED NYSCEF: 02/13/2015

SUPREME COURT OF THE STATE OF NEW YORK.”
COUNTY: OF NEW YORK

 

 

COLLEENDOWELL, ade Now,
Plaintiff
--against~ / VERIFIED COMPLAINT

DOUGLAS. STRONG, DANIEL TILMAN, OSCAR ROSA,
and ANDY AGUAYO,

Defendants.

 

Plaintiff Colleen Dowell, by her attorney, Mark A. Marino, PC, for her Verified
Complaint against the defendants, alleges as follows, upon information and belief

NATURE OF THE ACTION

 

1. Plaintiff Colleen Dowell (“Plaintiff”) brings this action against Douglas Strong,
Daniel Tilman, Oscar Rosa, and Andy Aguayo (collectively, “Defendants”), all NYPD
. detectives, for physical and ‘psychological i injuries (including loss of enjoyment of fe, along
with past and future. medical expenses, a8 a result of the assault, battery, and violations of.
Plaintif? s civil rights perpetrated by Defendants between approximately 11:00 p. m. on February
16, 2012 to approximately 3:00 a:m, on February 17, 2012. (The facts underlying the allegations
set forth i in this paragraph — that is, the acts occurring during the aforementioned time period —

are , further described below and are hereinafter referred to as the “Incident, *)

 
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PARTIES
2, Plaintiff Colleen Dowell i is, and was S at the time of the incident, a resident of New —
to York County, State of New York.
3. At the time of the Incident, Plaintiff was employed as a waitress at Parilla
Restaurant (oe “Restaurant )s located in this county at 3920 Broadway, New York, New York |

- 10032. .

- 4, - Defendant Douglas Strong (“Strong”) was, at thé time of the Incident, a detective
employed by the New York City Police Department (the “NYPD”). Upon information and
belief, Defendant Strong was stationed at the NYPD’s 33rd Precinct at the t time of the Incident
and retired less than. six months after the Incident.
5, Defendant Strong was on. duty during th the Incident. .
6. Defendant Strong was acting under color of state law during the Incident.
7. Defendant Strong was acting within the scope of Femployment by the NYPD and
the City of New York during thie Incident.

8. Defendant Daniel Tilman (*Tilman”) was, at the time of the Incident, a detective

 

: employed by the NYPD. Upon information and belief, Defendant Tilman was stationed at the
- NYPD’s 33rd Precinct at the time of the Incident and is now at the NYPD’s 46th Precinct.
a Defendant T. ilman was on duty during the Incident
16. . Defendant Tilman was acting under color of state law during the Incident.
, iL, "Defendant Tilman was acting within the scope of employment byd the NYPD and

the City of New: ‘York during the Incident.

NO
 

 

 

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7 . 12. Defendant Oscar. Rosa (Rose) was, at the time of the Incident, a detective .
employed by the NYPD. Upon information and belief, Defendant Rosa was stationed at the |
NYPD's 33rd Precinct at the time of the Incident and is now at the NYPD’s 40th Precinct, Ss

13: _ Defendant Rosa was on duty during the Incident.

14, Defendant Rosa was acting under color of state lay during the Incident.

18. "Defendant Rosa was acting within the scope of employment by the NYPD and. the
city of New York during t the Incident.
16. Defendant Andy Aguayo (Aguayo" was, at the time of the Incident, a detective
oe employed by the NYPD. Upon information and belief Defendant Aguayo was stationed at the

NYPD’ s 33rd Precinct at the time of the Incident and retired on Aptii 28, 2012 - — just over r two
months after the Incident, a

: 17. . Defendant it Aguayo was on duty during the Incident,
: 18, . Defendant Aguayo was acting under color of state law daring the Incident.
. 19. Defendant Aguayo was acting within the scope.of employment by the NYPD and .
the City of New York during the Incident.
- 20. Defendants Tilman, Rosa wand A Aguayo are hereidafter referred t tb, collectively as -
: the “Enabling Defendants.” ”
JURISDICTION AND VENUE
oh _ This: Court has jurisdiction over the parties pursuant to New York's Civil Practice
Law and Rules (“CPLR”) $301. a a
. Venue in this County is is proper pursuant to CPLR §503 andlor CPLR §504(3)..
23. Plaintiff demands jndament ogainst Defendants in an amount exceeding the

 - jurisdiction of all lower courts,
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_ FACTUAL ALLEGATIONS
24, Plaintiff was employed as a waitress at the Restaurant during the Incident,

25. Plaintiff had been working at the Restaurant for less than two weeks prior to the

 

. Incident.
26 ‘Early: in the evening of February 16, 2012, Defendants went to the Restaurant and

began having dinner and drinking alcohol.

. 27 . Defendants were at ‘the Restaurant and on duty at some o or all points in time ding
‘the Incident,

28° Defendants had been to the Restaurant to eat and drinle k (aleohol) many times in
the past, including while on duty. .
29. : Defendants had a continuing relationship with, among others, rs one of the owners
of the Restaurant, Jose Hemandez (the “Restaurant Owner”),

30. The Restaurant Over told Plaintiff that Defendant, Strong had'an 1 upcoming

 

Mabe ak

birthday.
31 . At approxi 11:00 p.m. on February 16, 201, ‘the Restaurant Owner asked |
Plaintiff to sit down and eat and drink with Defendants for Defendant Strong’s indy.
32, ‘Plaintiff sat down and had drinks with Defendants for at least ¢ an n hour.
3a The Enabling Defendants v were boasting to > Plaintiff about Defendant Strong.
34, the Enabling Defendants were drinking i in front.of Plaintiff and Defendant Sttong
for approximately one hour.
35. The Enabling Defendants encouraged both Plaintiff ‘and Defendant Strong to . -

drink alechol.

 
 

 

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36.  Atapproximately 12:00 a.m. on February 17, 2012, the Restaurant Owner and.

Defendant Strong asked Plaintiff to “come to the back of the restaurant,” where the Restaurant

“Owner had his own personal table.

6

37 . The Enabling Defendants cheered at the Restaurant Owner’ s suggestion (that

Plaintiff go to the back of the Restaurant).

38. One of the Enabling Defendants, in the presence of the other two Enabling

> . Defendants, told Defendant Strong on to “take his time” and “they'd be waiting for him.”

39. . The Restaurant Owner’ s personal table was ina a public area in the Restaurant:

40. Since the Restaurant Owner’ S personal table was in a public area, Plaintiff felt

: safe going with the Restaurant Owner and Defendant Strong.

4. ‘The Enabling Defends knew that Defendarit Strong planned to have sexual
relations with Plaintiff. oe
a. —” ‘The Enabling Defendants knew that the Restaurant Owner planned to have sexual oS
relations with Plaintiff
Fs 43. At this time, Plaintiff was in a precarious situation — walking through the
Restaurant behind the Restaurant Owner, the man who signed her paycheck, and in front of |
Defendant'Strong, an NYPD detective. a
44. The Restaurant Owner did not take Plaintiff to his personal table.
45, The Restaurant Owner led her past] his personal table and into a balay in the |
vey back: of the Restaurant..
46. ‘The Enabling Defendants continued t to drink alcohol.
, }

oo. 47, The Restaurant Owner. led Plaintiff to a room. at or near the end of the Ballway.

48, "Plaintiff had never seen this room. :
 

 

 

Law cited in CPLR §213-c (deseribed in detail in Patagraphs 79- 7.

they had promised).

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49. The Restaurant Owner unlocked the door to the room, which had a bed and the

specific type of wine © Plaintiff had been drinking in it.

50. Defendant Strong knew this room existed.
51. The Enabling Defendants kieiw this room existed. .
52. Plaintiff became afraid after realizing what the Restaurant Owner and Defendant
Strong meant by “come to the back of the restaurant, ”

33. Plaintiff entered the room 1 followed closely by Defendant Strong, an NYPD

detective, ‘The Restaurant Owner left the room shortly thereafter.

54, . Plaintiff, who was now alone with Defendant Strong, communicated to Defendant

Strong that she was uncomfortable and attempted to avoid Defendant Strong’s advances.

55. Despite Plaintiff's protests, Defendant Strong began kissing and touching her.
we 56. Plaintiff lost corisciousnedd during her protesting and was thus physically unable
to communicate unwillingness to act. oe
57. Plaintiff was fully clothed when she lost consciousness.
58. Defendant Strong removed Plaintiff's clothing.

~ '59.- Defendant Strong came into physical contact with Plaintiff, against her will, in a

manner consistent with the actions set forth in various sections-of New York’s Criminal Penal

60. Defendant Strong got dressed after he was done with Plaintife,
61. Defendant Strong took Plaintiff's underwear.

62, _ Defendant nt Sttong left and rejoined his colleagues, who had waited. for'h him (as
 

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63. Defendant Strong abandoned Plaintist who was alone, naked, and unconscious ‘in
_ a secret room with a bed in it inthe back of a Restaurant a

cof 64. ‘Defendant Strong communicated to the Enabling Defendants that Plainttt was
alone and naked in the room. oe

65. ‘The Restaurant Owner, with this knowledge, was emboldened by the actions of

Lo Defendants.

 

 

66. . The detectives, through their words and their actions, communicated to the
Restaurant Owner that he would not be arrested, punished, or r otherwise interfered with.
67. . Defendants contributed to the vulnerability of the plaintiff, /
68, Plaintiff woke up naked at approximately 3:00 a.m. to find the Restaurant Owner
touching and sexually assaulting her in a way contemplated by CPLR §312-c,
69. Plaintiff got dressed and left the Restaurant crying.
70. Plaintiff went to the hospital on the night of February 17, 2012 and took a rape kit
test, ‘which was s commandeered by the NYPD’s Internal Affairs Bureau (* TAB”).
. 7, Defendant Strong returned Plaintiffs underwear the following day.
- 7, Plaintiff spoke to detectives from IAB on the night of February 17, 2012 and was
subsequently contacted by IAB at least three times to gather further information
” ‘2B. The IAB investigation is now complete, but the results and d findings a are stil
unknown to Plaintiff.
74 The results of the rape kit test are unknown to Plaintiff.
15: . Upon information and belief, Defendaints were placed on modified duty.
76. Upon information and belief, two of Defendants were ordered to go to a rehab

"program for alcohol abuse.
 

 

 

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ve JURY TRIAL DEMANDED
77. Plaintiff demands a'trial by jury on all causes of action
FIRST CAUSE OF ACTION
“SEXUAL ASSAULT AND BATTERY PURSUANT TO CPLR §213- Cc
. As Against Defendant Strong
_ 7B. Plaintiff repeats and. realleges each and every allegation contained in Paragraphs l
. ‘through 11, inclusive, as though fully set forth herein, -
79, Defendant Strong intentionally initiated wrongful physical contact with Plaintiff
without justification or consent (during the time of the Incident).
80. Defendint Strong had sex with Plaintiff while she was unconscious (during the *”
time eof the Incident). . a .
oe 81. Defendant Strong had Sex. with Plaintiff while ‘she was physically unable to:
communicate unwillingness to act (during the time of the Incident).
82. .. Defendant Strong had sex with Plaintiff while she was unconscious: (sing the.
time of the Incident), .

83. _ Defendant Strong had oral sex with Plaintiff ‘while she was physically unable to
cominimnicate unwillingness to act (during the time of the Incident).

84, The actions of Defendant Strong caused Plaintiff - to. sustain injuries and/or
damages, including, but not limited to, the following: physical i injuries; ‘psychological i injuries;
and past and future medical expenses.

: gs ‘The actions of Defendant Strong oceutred during the conti, and within the scope,
of employment by the NYPD and the City of New York,
. 86. The actions taken by Defendant were willful, wanton, reckless, and/or malicious,

and therefore entitle Plaintiff to punitive damages in an amount to be determined at trial.
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co SECOND. CAUSE OF ACTION
YIOLATION OF 42 U.S.C. 1983— STATE CREATED DAN GER
AS Against the Enabling Defendants

87. Plaintitt repeats and realleges each and devery allegation contained in Paragiaphs L

 

through 86, inclusive, as though fully set forth herein.
88, The Fourteenth Amendment guarantees Plaintiff the substantive due ‘Process tight
oe to. obe free from: state created dangers. a
oo 89. the Fourteenth Amendment guarantees Plaintiff the substantive due process right

to 0 be free from unjustified intrusions on her liberty interest in personal security.

90, The Enabling Defendants violated Plaintif? Ss’ substantive due. process. Tights by

communicating t to Defendant Strong, through their words and their actions, that he would hot be
arrested, punished, or otherwise interfered with while engaging in misconduct likely to endanger

Plaintiff's life, liberty, or property.

 

91. , ‘The Enabling Defendants condoned Defendant Strong’s drinking and indicated to
Defendant Strong that he would not be disciplined for his conduct.

92. The Enabling Defendants condoned Defendant Strong’s drinking and indicated to.

. Defendant Strong that he would not be disciplined for his conduct and any conduct stemming —

from the drinking. .

93... ° The Enabling Defendants violated: Plaintif? s substantive due process rights by
communicating to thie Restaurant Owner, through their words atid their actions, that he would not

be atrested, puiished, or otherwise interfered with while engaging in misconduct likely to

endanger Plaintiff's life, liberty, or property.

 
 

 

 

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94, . The Enabling Defendants facilitated and encouraged Defendant Strong, through |
their words and their ations, to. take Plaintiff to the back of the Restaurant, knowing that
a Defendant Strong was going to engage in sexual activity with Plaintiff,
. 95, _ The Enabling Defendants facilitated and encouraged the Restaurant Owner,
: through their words and their actions, to take Plaintiff to the batk of: the Restaurant, knowing that
the Restaurant Owner was ; going to engage in sexual activity with Plaintiff.
96. The Enabling Defendants facilitated and encouraged the Restaurant Owner,
through their words and their actions, to take Plaintiff to the back of the e Restaurant, knowing that
Plaintiff was physically unable to communicate an unwillingness to act. | a
97. The Enabling | Defendants aided and. abetted Defendant Strong in subj ecting
Plaintiff to unwarranted physical harm.
98. The Enabling Defendants aided and abetted the Restaurant Owner in subj ecting
O Plaintiff to unwarranted physical harm.
. 99. Defendants condoned the Restaurant Owner's behavior and indicated to the
Restaurant Owner that he would not be disciplined for his conduct.
100.. Defendant Strong was emboldened by the absence of repercussions,
101. ‘The Restaurant Owner was emboldened by the absence of repercissions. .
° 102, ~The Enabling Defendant contributed to the valerbiiy 0 of the lain who was
passed out ‘and lying naked on a bed in the back ofa. restaurant,
103. The Enabling Defendants, government actors,, enhanced the opportunity for the
Defendant Strong’s sexual assault and battery through their interaction and relationship with

- Defendant Strong.

10
 

 

 

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104. Defendants, government actors, enhanced the opportunity for the Restaurant

: Owner’ s. sexual assault and battery through their interaction and relationship with the Restaurant
, Owner. |

105. The Enabling Defendants’ actions were so egregious and so outrageous that they
- shock the contemporary conscience.

| 106. The Enabling Defendants were acting under color of state law at the time of the —
Incident.

107. . The actions of the Enabling Defendants caused injuries to Plaintiff including loss

of freedom, physical i injury, and psychological injury (among other things).

“108. The Enabling Defendants took the aforementioned actions during the course, and

: within the scope, of employment with the City of New York.
. ° 109 _ The. actions taken by the Enabling Defendants were willful, wanton, reckless,
. and/ot malicious, and therefore entitle Plaintiff to punitive damages i in an amount to be

“determined at trial:

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THIRD CAUSE OF ACTION
VIOLATION OF 42 U.S.C. 1983 ~ STATE CREATED DANGER |
“As Against Defendant Strong .
. 0. Plaintiff repeats and realleges each and every tlegation contained i in Paragraphs 1
through 109, inclusive, as though, fully set forth. herein.
1 11, The Fourteenth Amendment guarantees Plaintiff the substantive due ptocess right
to be free from state created dangers.
112, The Fourteenth Amendment guarantees Plaintiff the substantive due process right
to be free from unjustified intrusions on her liberty interest in- persona security,
: 113. Defendant Strong violated Plaintiffs substantive due process rights by
communicating to the Restaurant Owner, through his actions and his words, that he would not be
arrested, punished, or otherwise interfered with while engaging in misconduct likely to endanger
Plaintiff? s life, liberty, or property.

114. Defendant Strong violated Plaintiffs substantive due ‘process rights by

communicating to the Restaurant Owner, through his viords and his actions, that he would not be.

anrested, punished, or' otherwise interfered with while engaging in misconduct likely to endanger -

Plaintif s life, liberty, or property.
. 115, - Defendant Strong facilitated and encouraged the Restaurant Owner, through his
. words and his actions, to take Plaintist to the back of the Restaurant, ‘knowing that ¢ the Restaurant
Owner was gt going to engage in illegal sexual. activity with Plaintiff.
116. Defendant t Strong facilitated and. encouraged the Restaurant Owner, through bis
words and his actions, to engage in iNlegal sexual activity with Plaintiff, knowing that Plaintiff

was physically unable to communicate an unwillingness to act. .

12.
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1 Ve Defendant Strong aided and abetted the Restaurant Owner in subj ecting Plaintiff
to unwarranted physical harm,
o 118. Defendant Strong condoned the Restaurant Owner s behavior and indicated to the |
, . Restaurant Owner that he would not be disciplined for his conduct.
119. “The Restaurant Owner was emboldened by the absence of repercussions.
120, . Defendant Strong, contributed to the vulnerability of the plaintiff, who he left .

passed out and lying naked ona bed i in the back of a restaurant.

121. - Defendant Seong contributed to the vulnerability of the plaintiff when he took:

 

Plaintif?’s underwear,
122. Defendant Strong, a government actor, enhanced the opportunity for the
Restaurant Owner’s sexual assault and battery through his interaction and relationship ‘with the
Restatitant Owner.
123. Pre Son's actions were 30 egregious and so outrageous that they shock Co
the contemporary conscience.

124," Defendant Strorig was acting under color of state law at the time of the Incident.

125, The : actions of Defendant Strong caused injuries to Plaintiff, including loss of | -

4 freedom, physical i injury, and psychological injury (among other things).

 

126. - Defendant Strong took the aforementioned actions during the conse and within
the scope, of employment with the City of New York.
17. The actions taken by Defendant Strong were willful, wanton, reckless, andlor
malicious, and therefore entitle Plaintiff to punitive damages i in an amount to be determined at

‘trial.

13.
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oo -. PRAYERFORRELIEF

 

"WHEREFORE, ‘Plaintiff seeks judgment in her favor and’ against Defendants,

jointly and severally, for the following relief:

a damages for personal injuries, ‘including physical, psychologicel, and

emotional i injuries, in an amount to be determined at trial;

b. ‘damages for past and future medical expenses in an amount to be
. determined at trial;
CO punitive damages in an amount to be determined at trial;
a. attomey's fees incurred in the instant action, whether or not mandated by
statute; .
6 costs and expert fees incurred in the instant action, whether or not

 

mandated by. statute; and
gf such other and further relief as the Court deems Proper and fair,

. 4 Dated: New York, New York.
February 11,2015 -

_ Respectfully yours,

MARK A. MARINO, PC

ph

~ Mark Marino
Attorney for Plaintiff Colleen Dowell

ye _ 380 Lexington Avenue, 17th Floor
New York, New York 10168
Tel: 212.748.9552
Fax: 646,219,5350

 

14
 

 

COUNTY OF NEW YORK )

"Dated: New York, New York

this Ip day of February 2015.

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VERIFICATION
STATE OF NEW YORK)
- ) "$8:
Colleen Dowell hereby affirms, under the penalties of perjury, to the following:
Thave read the foregoing Verified Complaint and know the contents thereof and the same
is tte to. to: my knowledge, except as to the allegations based upon information and belies and as to

those. matters, I believe them to be true.

   

“Febuary 13,2015 = Colleen Dowel

Swort to.and subscribed before me a

 

et

Notary Public o

é an OMAN
Notary Public - State ot New York

oe WO. ine a '
tified in New York County -
‘6 Qua ied 514 200

 
